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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF MICHIGAN

 

ARTHUR GALE, DAVID ROZMAREK, CASE No:
DUWAYNE FULLER, CHARLES WISNISKI,
DEBRA MAKSYM, and HARRY KOLK

Plaintiffs, HON~

V.

THE CHARTER TOWNSHIP OF FILER BOARD PLAINTIFFS DEMAND AJURY

OF TRUSTEES, THE CHARTER TOWNSHIP
OF FILER BOARD OF REVIEW, Municipal
Organizations, ]ACK BALL, AND ELIZABETH
ALLEN, in their individual and ochial

capacities

Defendants.

]oni M. Fixel (P56712)
Attorney for Plaintiffs
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COMPLAINT

 

NOW COMES the Plaintiffs, Arthur Gale, David Rozmarek, Du\X/ayne Fu]ler, Charles
Wisniski, Debra Maksym, and Hary Ko]k Who, by and through their Counsel, ]Oni M. Fixel, and in

support Of this Cornplaint state as fo]lOWs:

 

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STATEMENT OF THE CASE
The Plaintiffs to this matter are 1000/o service disabled veterans. Under Michigan Law,

disabled veterans are entitled to relief from payment of property taxes. The Defendants, certain
officials of the Township of Filer and, through them, the Township itself decided that they Were

7 more equipped to evaluate Plaintiffs’ disability status than the Department: of Veterans Affairs,
determined that these disabled vets Were not injured badly enough to justify tax relief, and refuted to
abide by Michigan law and approve the tax relief for the vets. \What’s Worse, the same township
officials have engaged in a pervasive pattern of harassment, iritirnidat:ion, and public ridicule of the
veterans. The Plaint:iffs desire to remedy this gross and egregious Violation of their rights by the

ToWnship of Filer and its officials.

]URISDICTION AND VENUE

1. This is an action to enforce civil rights arising out of Plaintiffs’ relationship With Defendants’,
pursuant to 42 U.S.C. 1983 for violations of their Civil Rights under the Color of State LaW,
Title ll of the American Disabilities Act, 42 USC 12131(2), Michigan’s Persons With Disabilities
Civil Rights Act, MCL 37.13()1, and Mchigan’s El]iott~Larsen Civil Rights Act, MCL
37.2302(21) (b) and other state law clairns.

2. Plaintiff Arthur Gale, a United States Citizen, resides and is domiciled in Filer Township,
Manistee County, l\/[ichigan. Plaintiff Gale is a United States Veteran Who served his country
honorably in the Vietnam \X/ar. He was awarded the National Defense Ribbon, the Vietnam
Service Medal, the Vietnam Campaign Ribbon With 3 service stars, the EXpert Rifleman Badge,
the 2ncl Class Gunner Badge, the Good Conduct Medal, the Army Cornrnendation Medal With a

"V” device and l Oak Leaf Cluster, the Air Medal With l Oak Leaf Cluster, the Bronze Star, the

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Combat lnfantryman’s Badge, Presidential Unit Citation, Valorous Unit Citation and the
Vietnam Cross of Gallantry vvith Palm Leaf. Due to his service to his country, he received
certain injuries that have been determined to be 1000/o service disabled by the United States
Veteran’s Administration.

Plaintiff Harry Kolk, a United States citizen, resides and is domiciled in Filer Tovvnship,
l\/[anistee County, Michigan. Plaintiff Kiolk is a United States Veteran Who served his country
honorably in World \X/ar II. Plaintiff Kolk earned a Purple Heart, the Bronze Star, a Combat
Badge, Germany-Army of 0ccupati0n Medal, World War II Medal, European, African, Middle
Eastern Campaign Medal and Efnciency-Honor-Fidelity Medal. Due to his service t:o his
country, he received certain injuries that have been determined to be 1000/o service disabled by
the United States Veteran’s Administration.

Plaintiff Charles Wisniski, a United States citizen, resides and is domiciled in Filer Township,
Manistee County, l\/lichigan. Plaintiff Wisniski is a United States Veteran vvho served his counUy
honorably in the Vietnam \War. He Was discharged vvith honors and earned a Purple Heart and
Bronze Star from the United States for his dedicated service. Due to his service to his country,
he received certain injuries that have been determined to be 100% service disabled by the United
States Veteran’s Adrninistration.

Plaintiff Du\X/ayne Fuller, a United States citizen, resides and is domiciled in Filer Tovvnship,
Manistee County, Michigan. Plaintiff Fuller is a United States Veteran Who served his country
honorably in the Vietnam War. He vvas discharged vvith honors and received accommodations
from the United States for his dedicated service. Due to his service to his country, he received
certain injuries that have been determined to be 1000/o service disabled by the United States

Veteran’s Administration.

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6. Plaintiff Debra Maksym, a United Stat:es citizen, resides and is domiciled in Filer Township,

Manistee County, Michigan. Plaintiff Maksym is a United States Veteran who served her country
honorably in the First Gulf \X/ar Era. Plaintiff Maksym earned the Air Force Achievement
Medal, Air Force Comrnendation Medal, Meritorious Service l\/ledal with One Oak Leaf Cluster,
Military Outstanding Volunteer Service Medal, Air Force Longevity Service Award with Three
Oak Leaf Clusters, l\lationali[r)”efense Service Medal, Humanitarian Service Medal, Air Force
Outstanding Unit Award with Two Oak Leaf Clusters, Air Force Organizational EXcellence
Award, and the Air Force Good Conduct Medal with One Silver Oak Leaf Cluster. Due to her
service to her country, she received certain injuries that have been determined to be 1000/o
service disabled by the United States Veteran’s Adrninistration.

Plaintiff David Rozmarek, a United States citizen, resides and is domiciled in Filer Township,
Manistee County, l\/[ichigan. Plaintiff Rozmarek is a United States Veteran who served his
country honorably in the Vietnam War. He was awarded the combat infantry badge, a purple
heart, a bronze star with one oak leaf, the army commendation medal with V device for Valor
with two oak leaves, Vietnam gallantry cross with Palm, Vietnam campaign medal with three
battle stars, plus a few other medals common to service for his dedicated service. Due to his
service to his country, he received certain injuries that have been determined to be 1000/o service
disabled by the United States Veteran’s Administration.

Defendant Charter Township of Filer Board of Trustees is a municipality within the State of
Michigan. The Defendant Charter Township of Filer Board of Trustees were the ultimate
decision makers for the events within this complaint

Defendant Charter Township of Filer Board of Review is an arm of the Municipality of The

Charter Township of Filer, which is located within the State of Michigan.

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Township Board of Review Member and the Secretary¢of the Board of Review n 7

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Defendant lack Ball, a United States citizen, resides and is domiciled in Filer Township,
Manistee County, Michigan. During all times of this complaint Defendant Ball was a Filer
Township Board of Review Member.

Defendant Elizabeth Allen, a United States citizen, resides and is domiciled in Filer Township,

Manistee County, Michigan. During all times of this complaint Defendant Allen was a Filer

All events related to this complaint took place in Manistee County, Michigan, making venue

appropriate in the United States District Court for the \X/estern District of Michigan.

13. jurisdiction is appropriate pursuant to 28 USC 1331 for Federal Question under 42 U.S.C. 1983

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and 42 U.S.C. 12131(2).
The United States District Court may take supplemental jurisdiction over the State law claims
pursuant to 28 U.S.C. §1367.

ALLEGATIONS

Plaintiffs incorporate by reference the factual statements and legal assertions contained in the previous

numbered paragraphs as if fully restated herein

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Defendant Charter Township of Filer Board of Trustees and Defendant Charter Township of
Filer Board of Review are authorized by the State of Michigan to perform a wide variety of
functions Some functions are mandated and required such as assessment adrninistration,
elections administration and taX collection. These duties are legally assigned functions of the
supervisor, clerk and treasurer, respectivelyl Beyond the mandated functions, Michigan
townships are authorized to provide a wide variety of services that are generally purpose
governmental entities.

The State of Michigan has passed Public Act 161 of 2013, also known as the Dannie Lee Barnes

Disabled Veteran Property TaX Relief Act (Exhibit A). Pursuant to Public Act 161 of 2013, any
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honorably discharged disabled veteran can apply to be exempt from the payment of property
taxes if the veteran meets certain criteria. An affidavit must be filed by the veteran seeking
exemption with the real property description. The affidavit when filed shall be open to
inspection. The definition of a “disabled veteran” is as follows:
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mazzara/051ng azaga[ga§pia§ig iaaaecii; 7

(a) Ha§ been determined by tbe United LYtatei Debartrnent af l/eterans’Ajair§ t0 be permanent@) and
tota/§/ diJab/ed at a rein/t ofrni/ita@/ terl)iee and entitled to beterani' benej€t.r at tbe 7000/o rate.

(b} Has a certificate front tbe United States Veteran§’Adniinistration, 0r itt Jaeeet.rori, certij/in<g tbat
be er tbe is receiving or bay reeeibedj)eeania@/ assittanee dae to ditabi/itj)for v§)>ea`a/b) adapted
beating

(e) Ha.r been rated by tbe United Statet Dej)artrnent 0f Veterant’Ajairs at indibidaa/b)
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17. Each of the Plaintiffs in this case properly applied for the property tax exemption according to
the procedure and the laws as stated in Public Act 161 of 2013.

18. The Defendants, Charter Township of Filer and Charter Township of Filer Board of Review
officials denied the applications for exemptions / waivers. Defendants, Charter Township of Filer
and Charter Township of Filer Board of Review not only denied the applications, but went on a
personal campaign of investigation and public comments which caused humiliation and
embarrassment exacerbating the disabilities of these disabled veterans

19. Public Act 161 of 2013 requires that only one of the three criteria be verified by the U.S.

Department of Veterans Affairs (“VA”) to qualify for the exemption (See Exhibit A)

 

1Public Act 161 Of 2013, MCL 211.7b (3)

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2(). All Plaintiffs were (and still are) 1000/o service disabled at the time of application.

21. In February 2014, the Defendants Charter Township Board of Review attended a class to learn
how to properly process the applications for Property Tax Exemptions/waivers pursuant to
Public Act 161 of 2013.

22. On February 19, 2014, Defendant’s Ball and Allen were nominated and elected for the Defendant

 

Board of Review. (See Exhibit B)

23. Each of the Plaintiffs provided proof to the Defendants that they satisfied at least one of the
required criteria under Public Act 161 for a property tax exemption, including their disabled
veteran status.

24. On or about March 19th ~ March 20, 2014, despite providing the required information for the
Property Tax exemption, all Plaintiffs were denied the property tax exemption by the Defendant
Charter Township of Filer Board of Review.

25. Plaintiffs complained about the injustice and improper denial to Charter Township of Filer but
their complaints fell on deaf ears. A video recording depicting this hearing is available online.2

26. Defendant Charter Township of Filer Board of Review sent Plaintiff Wisniski a letter stating that
they were questioning whether he qualified for the exemption because he had worked for years
and retired from a plant, so he did not qualify as disabled or unemployable

27. Defendant Allen publically stated that ‘thbej/’be been able to 111/erie for year.r and years and retired front a
plant in Mani.ttee and if)/oa ean gabf and bon/l on two leagaes and ran aroand Manittee lake and brag about it
and beld down a fall tirne job wit/9 benejitsjbryeart,}oa are not 700 percent di.rabled and jon eanpa})/oarpropenj/

tax. ” (See Exhibit C- page 2)

 

2 https: / /www.youtube.com/watch?v:ijn6El\/[B_q4&feature:player_embedded
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Defendant Allen’s statements failed to consider the possibility that persons could be considered

100 percent service disabled by reason of combat related rnental disabilities, such as Post Traumatic

Stress Disorder (PTSD).

Defendant Allen and other members of the Defendant Filer Board of Review decided that they

had the authority to determine whether someone was disabled based upon personal opinion,

Defendant Allen went further, stating ‘f[fj)oa want to know wbat 700 percent diiabili@) looks like, look at
tbe Woanded Warrior Projeet” and ‘Y believe we tboaldp@/ tbe proper@) taxe.rfor tbo.re poor rnilita@/ oeterant. ”
(See Exhibit C- page 3)

'I`he United States Veterans who benefit from the Wounded Warriors Project are those that served
in the armed forces from 2001 through present day.

Defendant Allen, by and through her statements, shows a clear preference to younger diiabled veterath
to the exclusion of the U.S. Veterans who received service disabilities prior to 2001.

Defendant Allen, by and through her statements, has also shown a clear preference to pbj)siealb)
iry`ared veterans, such as those who benefit from the Wounded Warrior Program.

On May 6, 2014, at the Defendant Charter Township Meeting, several comments were made about
recalling the Defendant Board of Review members. (See Exhibit D)

Plaintiffs were told that if they didn’t like the decision they could appeal it to the l\/lichigan TaX
Tribunal.

Plaintiffs sent a letter to the Michigan Tax Commission requesting clarification of the actions taken
by the Defendants.

On May 27, 2014, Michigan Tax Commission issued an order that admonished the Defendants

for “. . ..tbeir insensitioe rernarkt, inappropriate aetion_i" and illegal denial of tbeie exemptions. . .. ” (See Exhibit

E~Pg 2)

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On May 27, 2014, Plaintiffs were sent a letter by the Michigan Department of Treasury adopting
the orders of the l\/lichigan Tax Comrnission. (See Exhibit F)

On August 29, 2014, the l\/[ichigan Tax Tribunal reversed the Orders of the Michigan Tax
Commission for lack of ]urisdiction. The Tax Tribunal reiterated the requirements for qualifying

for the Disabled Veterans Exemption and advised the Plaintiffs that they had to appeal through

 

 

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the Tax Tribunal which would proceed with a hearing. (See Exhibit G)

Plaintiffs were required to provide additional information and were placed under undue stress by
having to file the next level of appeal needlessly.

After the denials of the Property Tax Exemption, several of the Plaintiffs have observed their daily
activities being monitored by various individuals acting on behalf of the Defendants sitting in a
car on a street by or near the Plaintiffs homes.

At least two of the Plaintiffs were required to appeal to the Michigan Tax Tribunal to have the
decision overturned Plaintiffs all eventually were granted the exemptions / waivers, but not
without additional stress and paperwork that never should have been required.

Many of the Plaintiffs’ disabilities are related to PTSD from their service to their country. Stress
and emotional issues continue to be a lifetime battle.

The additional stress from the wrongful, malicious, and unlawful actions of the Defendants has
caused both additional emotional and physical damages to the Plaintiffs.

Plaintiffs were already publically humiliated by the Charter Township of Filer Board of Review,
and now had to endure being spied on by the Defendants.

Plaintiff Fuller observed his home being monitored by a dark SUV in ]uly and August of 2014.
\When he approached the car to confront the person, the car sped off at a great rate of speed.
Plaintiff Fuller knows of his home and activities being monitored at least five times in the summer

of 2014.

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Plaintiff Fuller was told by two of his neighbors that Defendant Ball had been questioning them
about his activities, and was discussing the complaints that the Plaintiffs were making about being
denied the property tax exemptions / waivers

Plaintiff Gale observed a dark SUV sitting next to his home in the summer of 2014. \When he

approached the car, it immediately sped off and out of the neighborhood

 

 

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Plaintiff Gale attended a Filer Township Board meeting in ]une 2014. Defendant Allen sat behind
him and said loudly to a person sitting next to her “[b]e didn ’t deferi/e tbe waioer beeau,re be would onb/
get drunk and oran bit ear”.

Defendant Allen and her friend then looked directly at Plaintiff Gale and grinned after making the
statement. lt was clear that Defendant Allen was referring to Plaintiff Gale when she made the
statement above.

ln summer of 2014, many people in the community approached Plaintiff Gale to inquire about
his service disabilities

Plaintiffs would never have had their service disabilities become an issue to the public if
Defendants’ had done their job properly and granted the property tax exemption/waiver
Plaintiffs were, and continue to be, traumatized by the actions of the Charter Township of Filer
Board of Review and their actions

Defendants knowingly and blatantly denied the Plaintiffs’ exemptions / waivers based on personal
discriminatory animus

Defendants knowingly and blatantly monitored the Plaintiffs daily activities with no authority or
justification, causing the Plaintiffs considerable emotional stress and anxiety.

Defendant Allen had no authority to go outside of her official capacity and scope of her duties
and use personal discriminatory opinions and practices to deny the Plaintiffs the Property

Exemption that they were legally entitled to receive.

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Defendant Ball had no authority to go outside of his official capacity and scope of his duties and
use personal discriminatory opinions and practices to deny the Plaintiffs the Property Exemption
that they were legally entitled to receive.

Defendants Ball and Allen had no authority to investigate the Plaintiff’s daily activities or to

question the neighbors of the Plaintiffs to discuss their activities or their service connected

 

 

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disabilities

Defendant Charter Township of Filer were advised by Plaintiffs several times that they were being
discriminated against by the Defendant Charter Township of Filer Board of Review and did
nothing to investigate

The State of Michigan sent the Defendant Charter Township of Filer at least one letter advising
this Defendant that the denial of the Plaintiff’ s exemptions/ waivers were wrong. Defendant
Charter Township of Filer did nothing to correct the actions of the Defendant Charter Township
of Filer Board of Review’s actions

ln fact, in a sign of ratification of the improper actions of the Defendants, Charter Township of
Filer Board of Review, Ball and Allen, the Defendant Charter Township of Filer voted
unanimously to reappoint Defendant’s Ball and Allen to the Board of Review.

Defendants were grossly negligent in their treatment of the Plaintiffs in their denials, the public
statements and the monitoring of the Plaintiffs private lives

Plaintiffs have endured both physical and emotional damages due to the Defendant’s actions
These damages include increased panic attacks, sleepless nights, flashbacks, increased medication,
and aggravation of stress induced diabetes, increased psychological problems requiring treatment
by professionals, increased and aggravated symptoms from the service related disabilities that the

Plaintiffs already endure.

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COUNT ONE: S_UBSTANTIVE DUE PROCESS - EQUAL PROTECTION
VIOLATION - 42 USC § 1983 AGAINST DEFENDANT CHARTER TOWNSHIP OF
FILER BOARD OF REVIEW AND INDIVIDUAL DEFENDANTS ALLEN AND BALL

Plaintiff incorporates by reference the factual statements and legal assertions contained in the

previous numbered paragraphs as if fully restated herein.

 

65. The fourteenth amendment guarantees every person within the United States the right to equal
protection of the laws and equal privileges and immunities under the law. When a state distributes
benefits unequally, the distinctions it makes are subject to scrutiny under the Equal Protection
Clause of the Fourteenth Amendment. Generally, a law will survive that scrutiny if the distinction
rationally furthers a legitimate state purpose. The equal protection clause applies to the activities
of governmental agencies, and protects persons from irrational discrimination in either acts of
commission or omission.3 Generally, a law will survive that scrutiny if the distinction rationally
furthers a legitimate state purpose.

6'6. Plaintiffs’ constitutionally protected rights that Defendants violated include the following:

a. Their right to not have a property interest, their right to property tax relief, taken away
without just cause; as protected in the Due Process Clause of the Fourteenth
Amendment;

b. Their right to appeal as protected in the Due Process Clause of the Fourteenth
Amendment; and

c. Their right to fair and equal treatment guaranteed and protected by the Equal Protection

Clause of the Fourteenth Amendment.

 

3 Hooper o. Bernallilo Coun@/ Aitei"ior, 472 U.S. 612 (1985).
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The Defendants, acting under color of state law, had an affirmative duty as officers of the state
to apply the plain meaning of Public Act 161 in an equal and just manner, giving rise to
affirmative duties on their part to secure for the Plaintiffs their constitutionally protected rights
as identified above.

The Defendants violated their duties as state officers through allowing their personal animus

 

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against the Plaintiffs’ to interfere with the Plaintiffs’ rights, their subsequent interventions in
requiring the Plaintiffs’ to appeal to the l\/lichigan Tax Board, and in the following attempts to
discredit and harass the Plaintiffs through their campaign of observation The above actions are
the direct and proximate cause of the subsequent deprivation of the Plaintiffs’ constitutional
rights

The plaintiffs are members of a common class of persons: veterans who are 1000/o service
disabled and entitled to property tax relief by Michigan law. The defendants, and each of them,
unlawfully and arbitrarily denied Plaintiffs’ right to property tax relief based on improper and
arbitrary discrimination between such persons whose disabilities are ernotional, related to PTSD,
as opposed to pbj/_tiealJ like the persons involved in the \Wounded Warrior project ln so doing,
the Defendants, and each of them, violated Plaintiffs’ right to equal protection of the laws.
Plaintiffs had a property right to the tax relief indicated herein Defendants arbitrarily and
capriciously, under color of state law, deprived the Plaintiffs of this property right contrary to
their rights to due process

Defendants had no rational basis for the denial of the services from the Plaintiffs nor was there
any legitimate state interest in the reasons stated for the denials,

The Defendants, acting under color of state law and in concert with one another, by their
conduct have shown intentional, outrageous, and reckless disregard for Plaintiffs’ constitutional

rights .
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Further, their actions in arbitrarily denying the Plaintiffs access to their rights under Public Act
161 based upon their personal opinions rather than relying on the plain language of the Act; in
their treatment of the Plaintiffs in their denials; in the public statements made by Defendant
Allen; and the monitoring of the Plaintiffs private lives showed intentional, reckless disregard to

the Plaintiffs’ veteran status and disability needs, and was a deprivation of their constitutionally

 

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protected rights

As a direct and proximate result of Defendants’ conduct, the Plaintiffs have suffered public
humiliation, anxiety, stress and physical damages, and the deprivation of their constitutionally
protected rights as described above.

The Defendants, acting under color of state law, authorized, tolerated, ratified, permitted, or
acquiesced in the creation of policies, practices, and customs, establishing a de facto policy of
harassment and deliberate interference toward individuals such as the Plaintiffs on the basis of
their age, veteran’s status, and disabilities

As a direct and proximate result of these policies, practices, and customs, the Plaintiffs were
deprived of their constitutionally protected rights as described above.

Because the Defendants were high ranking officials, and ultimate decision makers in the
Township of Filer, the lownship itself may be held liable for the individual defendants’ active
violations of Plaintiffs’ rights pursuant to Section 1983.

Because the Defendants’ actions demonstrate a pattern, practice, and policy of the 'l`ownship of
Filer towards wrongful denial of rights to property and equal protection, the Township of Filer

may be held liable for the individual defendants’ violations delineated herein.

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COUNT TWO: VIOLATIONS OF TITLE II OF THE AMERICANS

WITH DISABILITIES ACT - 42 USC 12131(2)

Plaintiffs incorporate by reference the factual statements and legal assertions contained in the

previous numbered paragraphs as if fully restated herein.

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The Defendants meet the definition of “public entity” as stated in 42 USC 12131(1).

 

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'l`he Plaintiffs are all defined as being “disabled individuals” within meaning of the ADA, 42
USC 12102 et sea

The Plaintiffs are all defined as being “qualined individuals” within meaning of the ADA, 42
USC12131(2).

Despite the fact that they are qualified individuals, the Plaintiffs were being denied the benefits
of Public Act 161 of 2013 because of their disabilities

Defendants wrongfully denied the Plaintiffs public services on the basis of their disabilities in
violation of Title ll of the Americans with Disabilities Act by relying on their opinions that the
Plaintiffs were not disabled, rather than the plain meaning of Public Act 161.

Section 35.102 of the ADA prohibits discrimination on the basis of handicap in Federally
assisted programs and activities, including those programs and activities of public entities that
receive Federal financial assistance Title ll of the ADA extended this prohibition of
discrimination to include all programs, and activities provided or made available by State or local
governments or any of their instrumentalities or agencies, regardless of the receipt of Federal
financial assistance

As a result of the actions of the Defendants in preventing the Plaintiffs from benefitting from
Public Act 161 on the basis of their disabilities, they have suffered needless public humiliation,

and emotional, stress and physical damages

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COUNT THREE: GROSS NEGLIGENCE AS TO DEFENDANTS
ALLEN AND BALL
Plaintiff incorporates by reference the factual statements and legal assertions contained in the

previous numbered paragraphs as if fully restated herein.

86. Defendants Ball and Allen had a duty to the Plaintiffs to execute the duties of their offices as

 

required by state law, and to properly review the exemptions / waivers sought and apply them as
instructed by the clearly worded Public Act 161.

87. Defendants Ball and Allen could not have honestly believed that making discriminatory
statements, discriminating against the Plaintiffs, questioning the neighbors of the Plaintiffs, or
monitoring the Plaintiffs activities was performing a governmental function and part of the
duties of their offices

88. Defendants Ball and Allen were NOT engaged in the exercise and discharge of a governmental
function when they discriminated against and monitored the activities of the Plaintiffs.

89. The Defendants had a duty to the Plaintiffs to execute the duties of their offices as required by
state law, and to not discriminate due to the age of the Plaintiffs.

90. The Defendants had a duty to the Plaintiffs to execute the duties of their offices as required by
state law and not to monitor the Plaintiffs activities in their personal lives at home to try to
prove the Plaintiffs.

91. The Defendants had a duty to the Plaintiffs to execute the duties of their offices as required by
state law not to make untrue statements in an attempt to publically humiliate the Plaintiffs.

92. The Defendants knowingly and with malicious intent breached that duty by abusing their
positions to indulge in discriminatory opinions and practices, and by illegally monitoring the
Plaintiffs activities at their home to try to support their discriminatory opinions that the

Plaintiffs were not disabled.

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93. Defendants Allen and Ball simply did not care about the results or the damages that they were

causing the Plaintiffs by their improper actions
94. As a direct result of the actions of the Defendants Allen and Ball, the Plaintiffs have suffered

needless emotional stress, anxiety and physical damages

 

COUNT FOUR: VIOLATIONS OF MICHIGAN’S PERSONS
WITH DISABILITIES CIVIL RIGHTS ACT.. MCL 37.1301

Plaintiff incorporates by reference the factual statements and legal assertions contained in the

previous numbered paragraphs as if fully restated herein.

95. The Plaintiffs are “Person(s) with a disability(s)’ as defined by MCL 37.1103(h).

96. The Defendants are a “public service” as deHned by MCL 37.1301<b).

97. The Plaintiffs’ disabilities are unrelated to their ability to utilize the services of the Defendant in
regards to the tax exemptions / waivers offered through Public Act 161 of 2013.

98. The Defendants actions prevented the Plaintiffs from taking advantage of the offered tax
exemptions / waivers made available to them through Public Act 161, as well as letting it be
known in a public forum that their tax exceptions will be denied to disabled individuals if they
do not conform to what preconceived discriminatory notions of “disability” that the Defendants
hold.

99. The Defendants denials of the exemptions / waivers through refusing to recognize the Plaintiffs
disabilities was a denial of public service in violation of Michigan’s Person)s with Disabilities
Civil Rights Act.

100. As a result of the actions of the Defendants, the Plaintiffs have suffered public humiliation, and

emotional stress, anxiety and physical damages

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COUNT FIVE: VIOLATIONS OF MICHIGAN’S ELLIOT-

LARSEN CIVIL RIGHTS ACT (ELCRA). MCL 37.2302(A)(B).

Plaintiff incorporates by reference the factual statements and legal assertions contained in the

previous numbered paragraphs as if fully restated herein.

101.

The Defendants constitute a “public service” as defined by MCL 37.l\/lCL 37.2103(b).

 

 

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The Plaintiffs were all denied public services by the Defendants based in part on their ages
Pursuant to the ELCRA, Plaintiffs are part of a protected class based on their ages

The Plaintiffs are all Veterans of United States military actions taken prior to 2001.

The Plaintiffs were denied benefits because they were not physically disabled Veterans who had
served from 2001 to present, which would make them part of the Wounded Warriors.

The Plaintiffs were denied their tax exemptions / waivers through Public Act 161 of 2013
because of the preferential treatment exhibited toward younger veterans who have served from
2001 and on by the Defendants.

The Defendants through Defendant Ball publically stating that the older veterans were not

worthy of the property tax exemption / waiver and the subsequent denial of the

exemption / waiver violated the Elliot-Larsen Civil Rights act by discriminating against older
United States veterans

The Defendants discriminated against the Plaintiffs by treating the older Veterans differently
than the younger Veterans

The Defendants also acted beyond the scope of their positions to engage in a campaign of
harassment against the Plaintiffs based upon their discriminatory behavior by placing the
Plaintiffs under surveillance to disprove the disabilities of the Veterans

Defendants have discriminated against the Plaintiffs based on the ages of the Veterans, the

disabilities possessed by them, and when they served their country.
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111. As a result of the actions of the Defendants, the Plaintiffs have suffered public humiliation,

emotional stress, anxiety, and physical damages

COUNT SIX: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

Plaintiff incorporates by reference the factual statements and legal assertions contained in the

 

 

previous numbered paragraphs as if fully restated herein.

112. During the times described above, the Defendants knowingly and maliciously engaged in
depriving the Plaintiffs of their property tax exemptions / waivers, their appeals, and their peace
of mind by engaging in a campaign of discrimination and harassment based upon their personal
animus toward the Plaintiffs.

113. This conduct, which was undertaken using the Defendants’ positions as officials of the Charter
Township of Filer and the Charter 'l`ownship of Filer Board of Review, was extreme and
outrageous in that it grossly exceeded the scope of their state-given authority, and resulted in
greatly compromising the rights of the Plaintiffs.

114. The Defendants knowingly and maliciously spied on the Plaintiffs, questioned the neighbors of
the Plaintiffs, made public statements denigrating the Plaintiffs’ service related disabilities, and
went on a campaign to discredit the Plaintiffs.

115. As a result of the Defendant’s actions, the Plaintiffs have suffered severe emotional distress,

public humiliation, anxiety, and physical damages

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COUNT SEVEN: EXEMPLARY DAMAGE CLAIM
Plaintiff incorporates by reference the factual statements and legal assertions contained in the
previous numbered paragraphs as if fully restated herein.
116. Defendants, by and through the actions of Defendants Allen and Ball, intentionally and

maliciously denied the Plaintiffs for no purpose except to harass the Plaintiffs.

 

 

117. Defendants actionsiby denyingipubliclservices, making the Plaintiffs disabled statuspublic,

questioning neighbors about the Plaintiffs, and monitoring the Plaintiffs activities, were
malicious and willful and wanton in clear disregard to the rights of the Plaintiffs.

118. Plaintiffs are entitled to Exemplary Damages for the public humiliation, emotional stress,
increased anxiety and physical damages caused by the willful and wanton actions of the

Defendants.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs request that this Honorable Court:

A. Find that the Defendants have acted with gross negligence in their treatment of the Plaintiffs;

B. Find that the Defendants have violated the Plaintiffs civil rights through the color of State law;

C. Find that the Defendants have violated the Plaintiffs rights of public services in violation of the
Americans with Disabilities Act;

D. Find that the Defendants have violated the Plaintiffs civil rights as disabled persons in violation
of Michigan’s Persons with Disabilities Civil Rights Act;

E. Find that the Defendants have violated the Plaintiffs civil rights and discriminated against the
Plaintiffs in violation of l\/lichigan’s Elliott-Larsen Civil Rights Act;

F. Grant Plaintiffs an award for emotional damages for the continued turmoil Defendants have

caused due to this situation;

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G. Grant Plaintiffs exemplary damages as found appropriate by this I-lonorable Court, and
H. Grant Plaintiffs an award of reasonable attorney’s fees for prosecuting this action, and

l. Grant Plaintiffs any other relief, in law or equity, which the Court should deem appropriate

given the circumstances described herein.

 

Respectfully Submitted,

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